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EXhibit B

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CO|\/|MONWEALTH OF l\/|ASSACHUSETTS

SUFFOLK COUNTY BOARD OF REG|STRAT|ON lN
VETER|NARY l\/|ED|C|NE

 

|n the Matter of
SHE|LA LYONS
Un|icensed

Docket No. VT-05-046

 

AFF|DAV|T OF NATHAN MCBR|DE

l, Nathan l\/|cBride, on oath depose and say as follows;

1. | am a resident of Stow, l\/lassachusetts and am 34 years of age. l
am currently the Senior Director of |T at Al\/lAG Pharmaceutica|s in Cambridge,.
Massachusetts. l make this affidavit in support of the testimony of the
Respondent, Shei|a Lyons, DVI\/l, in the above referenced matter. The
statements made by me in this affidavit are based upon my personal knowledge
unless specifically stated to be based upon information and belief and in such
case | believe them to be true. Al| of the opinions | express herein are held by

me to a reasonable degree of scientific certainty.

2. | am an information technology consultant by profession. My
background in technology is comprehensive going back almost 16 years. During

that time l have held several key support and leadership roles in information

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Technology departments ln that time, l have worked on and supported many
major computer operating systems and standard enterprise application suites
such as Microsoft Office and Adobe Acrobat. Further, my experience in technical
support has given me opportunities to work with and support applications
relevant to this case for almost the entire duration of my experience tenure. l
have worked with and extensively supported the following email environments:

P|NE, Eudora, AOL, Brightmail, FirstC|ass, Entourage, Webmail, Outlook,
Thunderbird, Netscape |Vlessenger, iPlanet, Opera, Mac l\/lail, Gmail, Hotmail,
Yahoo Mai|, and Lotusl\/lail. ln addition, it has been my responsibility to ensure
that communication between individuals either internal to an organization or to
and from an organization with external partners goes uninterrupted. |n ensuring
that line of communication continues unhindered, l have come to understand
both through the act of supporting and through the act of education that email
clients throughout time and across the globe follow the same simple formatting

features when communicating, regardless of their user interface.

3. | have been retained by the law firm of K|ieman, Lyons, Schindler &
Gross on behalf of Doctor Sheila Lyons regarding a proceeding with the
Massachusetts Board of Registration in Veterinary l\/ledicine. The purpose of my
retention was to review certain documents for the purpose of determining
whether these documents, which purport to be e-mail communications between

Ellin Asack (Phototake1@aol.com) and Doctor Sheila Lyons

(castleton2b@comcast.net), are genuine. Specifica|ly, l have been asked to

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examine and render an opinion regarding the formatting of these purported e-
mail communications and whether the formatting characteristics they exhibit are
supported by the AOL e-mails system or any other known e-mail system. As will
be described below, it is my opinion that the document attached to this affidavit
as Exhibit A is genuine and that the documents attached hereto as Exhibits B
through M, as well as any and all other documents which share the formatting
characteristics of these documents, have been altered and are not genuine and

represent considerable fabrications.

4. | began my analysis of these documents by examining each
document for certain formatting characteristics which are common to all e-mai|
communications |n addition to certain e-mai| body characteristics adopted by all
email clients, l also analyzed the headers of the e-mails. E-mail headers for the
e-mail clients in question defer to the l\/l||\/lE 1.0 standard for header address
classification The l\/lll\/lE 1.0 standard is a universally adopted e-mail standard
(no e-mail goes anywhere in the world without using l\/l||\/lE) which controls bi-
directiona|ly, the flow of all e-mail in the world based upon the information
contained in the “header" of the e-mail. The formatting characteristics l focused
upon included the presence (or absence of) automatic headers identifying the
sender, receiver, date, time and subject of the e-mai|) as well as standard
formatting characteristics such as indenting, font and spacing. l also compared

the text of the documents.

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5. A comparison of the these e-mails revealed certain important
differences between the document identified in Exhibit A as a genuine e-mail
communication from Ellin Asack at Ehototake1@aol.com and the questioned
non-identical copies of this e-mail identified in Exhibits B and C from

castleton2b@comcast.net.

6. Exhibit A, which is a scan from the printout from the computer, of
the recipientl Sheila Lyons, shows all the characteristics of a properly formatted
email. Starting with the header, the “From:” line indicates a proper l\/lllVlE
convention which follows the “Contact Name [mailto: contact address]" format
noted in RF02822 (http://www.rfc.net/rch822.htm|). This would indicate that
Sheila Lyons has in her Contacts list/Address Book, a record of this email
address. The “Sent:" line depicts a common adaptation used by many popular e-
mail clients showing an adaptation of the lSO 8601 Date and Time Standard.
The “To:” line follows the common To: convention noted in RFC2822 which
simply shows the recipients email address. Some email clients will also show
you the same Mll\/lE convention depicted in the “From:” line if the sender has
given a special nickname or group name to the recipient. Lastly, the “Subject:"
line depicts the fact that this statement was a reply to a previous email and is not
the original email in this thread also based on RFCZ822 conventions. The body
of the email follows the W3 convention for threading
(http://www.w3.orgffR/1998/NOTE-HTMLThreading-0105). This convention was

established, (along with the lvlll\/lE 1.0 convention) to ensure that emails around

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the world, regardless of client-side application used to view or render them, could
read them and that email threads could be layered in such a way that one could
follow the conversation as each subsequent reply resulted in a further indentation
of the previous emails. This email depicts a body which is entirely left indented

and uses ASCll text in the Plain-Text format to render itself. These are standard

email conventions.

7. Exhibit B depicts an email that has significant formatting
irregularities in the body which would have had to have been manually entered
as the AOL 6.x to 9.x versions include no such features as the ability to inject a
person’s name automatically as an object into a paragraph Further, it is seen at
the end of the first page that there is an italicized, bolded paragraph which is out-
dented beyond the left hand margin as noted by the frame box surrounding the
header at the top of the page. This indicates a manual modification per the
threading guidelines discussed in Part 6 of this document Further, as previously
stated, the injection of a person’s name, in this case indicated by names in
brackets i.e, “[Dr. Sheila Lyons]”, is not an automatic function of any AOL
version. ln fact, there is no e-mai| client which exists today, which will
automatically inject a person’s name into the body of an email, unless it is done
in the threading convention whereby, in a reply, the reply will note a full reply
string such as “On June 24"‘, 2004, Sender wrote:” and then it would only appear
once at the top of the reply. Lastly, the very last line of Exhibit B, which shows

an injected name again, is formatted in italic, Times New Roman font which is at

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least one size larger than the rest of the body of this email. This would further

indicate manual alteration of the e-mail document.

8. Exhibit B did show one possible true characteristic of AOL which is the
fact that an AOL header does show the line “Sent from the lnternet (Details)”. lf
one were to click on the word “Details” in that line, they would be shown the full
|Vlll\/lE header. However, what we see in Exhibit C is not a header that one would
see in any AOL version. Further, if “Dr. Sheila Lyons” was an entry in the
claimant’s address book, her name would have also appeared automatically in
the “From:" line in Exhibit B, which it does not. ln Exhibit B it simply states the e-
mail address “castletoan@comcast.net" which would indicate that the e-mail
address was not listed in the claimant’s address book. ln addition, we see in
Exhibit C the same characteristic that we see in Exhibit B which is that there are
not only incorrect levels of indenting intermixed with the body of the document
but that there is the absence of a reply or forward thread indicator which is
usually indicated by a “>" or a “|" on the left side of the page to indicate an

original email. These are both common characteristics in all major e-mail clients

including AOL.

9. Exhibit D has a uniquely truncated header that is not available
among common e-mail clients including AOL. AOL clients always show the
“From:" in the message header whether in client or web based view. Exhibit E

also shows a similar characteristic.

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10. Exhibit F has characteristics that also identify it as a tampered
document There is the injection of the bracketed name in the second
paragraph There is also a single indent for the entire body of text. This
indicates that this email is either a reply or fon/vard. Looking at the Subject line
shows us that this is a reply based on the “RE:” indicator. lf this is truly a reply,
then there would be text somewhere in the email that would have a left indent
which matched up with the indent of the header box. There is no text that does
line up which indicates the manual omission of that text

11. Exhibits G, H, l, J and K all have the insertion of bracketed text “[Dr.
Sheila Lyons]” which, as mentioned above, is a manual insertion of text into a
document and is not automatically populated by the AOL e-mail client whether
web based or not

12. |n summary, therefore, based upon the foregoing analysis and
findings, and based upon my experience, education and training in computer
science technologies, it is my opinion, which l hold to a reasonable degree of
technical certainty, that the document attached hereto as Exhibit “A” is a genuine
copy of an authentic e-mail communication from Phototake1@aol.com sent on
Friday, June 11, 2004 at 7:59 p.m. to castleton2b@comcast.net. lt is also my
opinion that the documents attached as Exhibits “B through K" which purport to
be e-mai| communications between castleton2b@comcast.net and
Phototaket@aol.com are not genuine and have in fact been substantially

altered. lt is my further opinion that any and all e-mails which reflect the same

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formatting characteristics as to the use of headers, font, spacing, the quoting of
an individual as the object in a paragraph and left indenting all of which are

discussed above are also not genuine and represent substantial fabrications.

SlGNED this 10th day of June, 2008 under the pains and penalties of

perjury.

 

Nathan l\/chride

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COMN|ONWEALTH OF MASSACHUSETTS

On this/_Zhday of June, 2008l before me, the undersigned notary public,
personally appeared Nathan McBride, proved to me through satisfactory
evidence of identification, which was a Massachusetts issued driver’s licensel to
be the person whose name is signed above on the attached document, and

acknowledged to me that he signed it voluntarily for its stated purpose.

 

 

/) l 5a KATHHYN mr MARKHAM

Notary Public Nntary Pirblic
Cummunwr:alllr at frtassachuselts
My Cnmmissinn Explras

M8y21,2010

My Commission Expires:

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Exhibit A

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----- Original Message-----

From: Phototakel@aol.com [mailto:Phototakel@aol.com]
Sent: Friday, June ll, 2004 7:59 PM

To: castleton2b@comcast.net

Subject: Re: the seminar and B&E

That's right! From my point of view, until things change at the most
fundamental level no animal rights group, no animal welfare group, no
special interest group, no postdoctoral program and no amount of $$$ is
going to effect and sustain the kind of major overhaul that is needed.
Not until the silence is broken in this - the worst, most secretive and
misperceived profession will the efforts of all of the above bear
fruit.

True, proof abounds that it does not work to raise the status of
animals without first raising the level of care we can provide them
Trying to raise that bar one student at a time...!!!????????? This
would take many lifetimes to make any significant difference to the
world at large - Even with the backing of the millions of people who
are already funding and fighting for the wrong first cause everyday,
The quickest most efficient way to get the big picture to play on the
screen once and for all is to rewind and start the show from the
beginning. The silence needs to be broken across the globe!! This calls
for full Exposure in a directly confrontational manner from a purely
educational motive with a high degree of diplomacy thrown into the mix.
The public needs to hear the whole truth tnot just the small tidbits
they got during the Tufts controversy], the medical and scientific
community needs to learn what a DVM degree actually translates to

- a license to torture animals and mislead and steal from the public
who love them and protect them, this is not as difficult as it sounds,
but it will take compromise and a focussed effort between all of the
above ~ bridging the science / psychology gap. What makes it not so
difficult is the media ~ get the fire started and blazing in the right
place and there is no question it will get the oxygen it needs to level
the playing field.

Glad you mentioned HCF to Tara - I wondered at Benjamin's why you did
not go there.

OK - all you say about Josh now I wish you had said in the beginning -
I have not been through this with the farriers as you have and know
that both they and the vets should be begging and paying you for this -
I am gaining an understanding of how hard it is for you to see this and
do agree that it is 100% my responsibility to find someone who will _
take this on if possible. I simply did not know even that this learning
opportunity was a possibility maybe l missed something somewhere? l was
thinking that at least with Josh we know what we have top work with and
especially you know how bad his work is - we won't know that about
someone else without seeing the horses they are trimming. And I tend to
believe that Josh's work is typical of all of Cape Cod. I've had many
of them here over the years and most have been much worse than Josh -
I'll show the pictures of Nicks work sometime. None of the other
farriers here will even return my phone calls.

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Perhaps I feel like I'm not getting a direct answer on some things
because I'm not asking a direct enough question. Are you saying that
you have the time and incentive to do something more with Dr. Cesar

(and these farriers I might be able to find) beyond working and
finishing up your farrier work with Bayou and Ellie? You really have
not been specific about this. It was my impression that on the last
trim you would spend time teaching whatever farrier or vet was
available along with Betsy and I how to keep them up and then hope that
we could when you are out of the picture, but I never considered an
option for anything beyond that. I thought the most I could hope for in
the absence of a vet and.farrier was that I could learn at least

enough to keep them up when both you and Betsy are both out of the
picture. So I was a little encouraged to find Dr. Cesar and Josh at the
talk. Did I miss something?

Also, like I said before I do not understand how this is working. One
fundraiser - aprox $3800.00 and 5 days of your time plus two of Jane's
does not add up even though I know this was not even payment for
services but help for Homecoming Farms projects. I cannot afford even
one minute of your time - you know that - l need to know how this makes
sense to you. I might be missing something here too.

You need to know that I'm not disappearing. I want the upheaval to
happen ASAP or at least in my lifetime and so I'm not going to ever
stop starting fires. That is my agenda period- nothing I do to help HCF
or any other depends on what will be done for me or my animals. We will
get what we need 1 trust that, in turn this is what keeps us from
falling prey to the agendas of others.

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Exhibit B

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Subj: FW: the seminar and B&E
te: 6/12/2004 11:26:42 AM Eastern Standard Time
rom: _ca§_flefo._nzb@cqm§a$t.net `
To: P_ho_to.take.i@aol._..<;om
Sent from the Intemet (De_tar`_ls)

 

 

 

[Dr. Sheila Lyons] Actual|y you can change this by aiming at the students
and creating new educational programs Get the intro into vet.schools of
the whole different approach and the post doc programs for them to pick up
with when they get to that point. l have great success with them but it is
hugely expensive. This way we get the changes first by dozens, then in
hundreds. And the students for the most part really want to do the right
thing. lt does not take too many individuals doing things much better
before everyone else must change. What the established cavemen
practices will do is simply hire these graduates rather than change
themselves lt has worked. The other element that must change is who

g owns horses and what is expected of them. Your initial total lack of
knowledge and experience led you to acquire horses of a breed that should
be abolished for the man-made handicaps they select for genetically; you
were nearly killed; and your lack of horsemanship kept you from seeing
how bad Josh's work was. Your professionals too but regions generally get
what they support. | suspect that beneath the surface Cape Cod wants
good professionals but they don’t want to be told the truths l tell. Or
change the way they ride, manage, $$$$$ spent, “rescue horses" etc.
Even just on this trim issue. Every horse trimmed every 2 weeks ata
minimum of $100 per trim. Would they do this? Even if to THE|R- eye it
could go 3 or 4 weeks? Would they do a long slow conditioning of even
pleasure horses so they don‘t even trot them for 30 days of initial
conditioning? Doubt it. So if the “right way” were ever enforced, it would
be like NYCity when pooper scooper laws came in- thousands of “beloved
pets" dumped at the shelters. l love my dog, but ..... not “|ike that”.

Glad you suggested HCF to Tara - l wondered at Benjamin’s why you did

not go there.
[Dr. Sheila Lyons] She had enough on her agenda and just mentioned the
se issue. lf she had gone public with that her consequences would
h ve been much worse. l respected that choice since she clearfy knew of _
the issue (l raised it in my initial correspondence with her)

“’l_\r‘v\ar\z"r\" '\\o-\¢> an qnn_A _A NA~:;\A nn`:¢\a¢ Dl¢\n+r\#h'ra‘

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OK - all you say about Josh now l wish you had said in the beginning - l
have not been through this with the farriers as you have and know that both
they and the vets should be begging and paying you for this - l am gaining
an understanding of how hard it is for you to see this and do agree that it is
100% my responsibility to find someone who will take this on if possible. l
simply did not know even that this learning opportunity was a possibility (as
you describe it in your last email)- maybe l missed something somewhere?
l was thinking that at least with Josh we know what we have top work with
and especially you know how bad his work is - we won't know that about
someone else without seeing the horses they are trimming. And _l tend to
believe that Josh's work is typical of all of Cape Cod. l've had many of them
here over the years and most have been much worse than Josh - l'll show
the pictures of Nicks work sometime.

[Dr. Sheila Lyons] I tested Josh. The stop watch started at the end of the

talk. He is in the lowest potential g?T)Tip now, g_o_t_gnly due to lack of skill

but by avoiding me. The calls to you that mEsed me were not sincere. He

F5/;.~£1£1.21! his work was the sole tln'n§_€§u's_in§ great sufferiggLHTdc<nlStant
qoncern from you (everyone else seemed to see thisl._ Whether e elieves

 

 

e L,'/s_gcirlialn_;'d_e¢;il job based on traditional farriery_(th“e'?)"u_t l gave him
althou h no s nc ` r e rs concerne that his work rs worse, his
WMMW€
absolutely hounded me sending pages and pages of emotional, angry,
pleading, fearful, hopeful, letters that show an awakening of _
consciousness He is silent. Nine people from that seminar have managed
to contact me- several by both phone and email. Many several times until l
managed a response. Nothing from Josh. All l really need to know. His
skill level is awful and knowledge even less but l can work with that if it is
countered by extreme motivation to change. He shows none at least to
me. l will show him how to maintain the trim but if he does not make the
effort to fully understand all l presented he will not be able to. Students,
whether experienced vets or beginner grooms must offer me all of their
attachment to their sense that they know what is right/wrong. lf they freely
offer me this, l can teach them. If they cling to the notion that they know a
lot but just need a few extra “details" from me, they always fail. Again, why

l target students.

 

l am not offering much time to any farrier or Dr. Cesar and don’t need to.
ut they must offer this to their own learning. l know how to teach this
effectively. Most of it is self study. l would meet with her, go over the hoof

pick exarn, the photos again and then she would have to take that and

. ,_ J___ .____- on norm A....a._;~, nnlinp~ D'hntntn'k¢=.\

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amine every horse she comes across with this technique About 250
irses later (1000 very different feet) she would be in a position to perhaps
know how to evaluate, and by then l would meet again and go over some of
her patients with her to evaluate her understanding Then she would be
ready to review in detail what l did to B&E. Etc ....... So very little time is
needed from me at first for them to make HUGE progress. Comes from
them, not me-just the basics and guidance on how to learn. The horses
will teach them, not me. Also why l link with rescues. Lots of long
suffering horses standing around. Students examine every horse (hoof
pick), every hoof, every day. Then they trim just one which can take them a
month to get all 4 feet generally done. `

Perhaps l feel like l'm not getting a direct answer on some things because
' ‘m not asking a direct enough question. Are you saying that you have the

time and incentive to do something more with Dr. Cesar (and these farriers
l might be able to iind) beyond working and finishing up with Bayou and
Ellie‘? You really have not been specitic about this. lt was my impression
that on the last trim you would spend time teaching whatever farrier or vet
was available along with Betsy and l how t_o keep them up and then hope

9 that we could when you are out of the picture, but l never considered an
option for anything beyond that. l thought the most l could hope for in the
absence of a vet and farrier was that l could learn at least enough to keep
them up when both you and Betsy are both out of the picture. 30 l was a
little encouraged to find Dr. Cesar and Josh at the talk. Did l miss

something?

Also, like | said before l do not understand how this is working. One
tundraiser-_ aprox $3800.00 and 5 days of your time plus two of Jane's
does not add up. [Dr. Sheila Lyons]You are right, it doesn’t. This has
cost me/HCFarm over 1 OK just so far in lost wages plus travel back

from KY to do 2'1 d trim. But this whole mission has not “rnade
sense”. l am motivated to help horses and responsible people. l
cannot afford even one minute of your time - you know that - l need to
know how this makes sense to you. l might be missing something here too.
Also, we have talked about another seminar with Pegasus etc.. , but never
really tirmed that up either. N‘laybe a good idea for a little role defining
because l simply don't understand what you mean by your role as the
attending or what you expect from me.
r. Sheila Lyons] Attending just means for these B&E issues | required full
Mrier. l did not just “co_m’e"m"m_`
,< fully evaluated whole needs and organized thaTl could (Jane/me). loan
amish could require them to come to Brockton.

 

 

 

 

A l ~ __ _ _ r\\_ .`4.,.4..|‘", l

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After that l may call/email you on one day notice to sayl am stopping _
ough MA overnight and will arrive at 9AM to examine/trim. Your farner
would be expected to be there and be excited for that last second
opportunity. One such farrier canceled his trip to the World
Championships instantly because he heard l would be around and he
hoped he could meet up/work with me. He never even told me that-
someone else did- so there was no whining, he acted like he had that time

off an a . -
HM,/U%MUMMMU
Wre looking at a baseline cost of nea y 4000. _Then .
M we could raisga miniMlm_aLmlM rs
not reall worth it. I can do a talk about the specialty and vet student
programs but people want to learn things to help their animals, not just of
my long range plans. No expectations from you. Help m any way you are
motivated to.' There never were any, ’M’"_,T‘W'm"?wq,ggw
Mr_an “ema.' consg____oprmon ut with
what ou have learned so far, you know this achieves nothing. Eitherl get
involved bi time or the horses suffer until they are eventualmfe`ft
r’¢§D_jl>_ll»irtz._'o’T'n_qL!T…fir-githequine rescue group that knows no
W. t wouid not have ot?éred rf y_ou
d riding orses involves so much more. Wl_len l saw your
otos, x¢rays and vet reports l knew B&E had this certain future. And l am
honest so in so many words l would have told you that. Also that l could
fix each, but wouldn ’t/couldn't. That is a very heavy burden. l always

choose to my own detriment which is why my life is as it is. But strictly by
my choice- you had nothing to do with that.

 

 

 

 

 

 

 

You need to know that l'm not disappearing. l want the upheaval to happen
ASAP or at least in my lifetime and so l'm not going to ever stop starting
fires. That is my agenda period- nothing l do to help HCF or any other
depends -on What will be done for me or my animals. We will get what we
need l trust that, in turn this is what keeps us from falling prey to the
agendas of others. .

[Dr. Sheila Lyons] Hope so.

AA AAA¢ 4 ‘_ A__lf___- l'\L`A._A»|,»-»l

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Exhibit C

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.From: dr. sheila lyons

Sent: Saturday, June 12, 2004 11:26 AM
To: Phototakel@aol.com
Subject: FW: the seminar and B&E

 

[Dr. Sh etta Lyons] Actually you can change this by aiming at the students and creating new educational programs Get
the intro into vet schools of the whole different approach and the post doc programs for them to pick up with when they get
to that point l have great success with them but lt is huger expensive This way we get the changes hrst by dozens, then
in hund reds. And the students for the most part really want to do the right thing. lt does not take too many individuals doing
things much better before everyone else must change What the established cavemen practices will do is simply hire these
graduates rather than change themselves lt has worked. The other element that must change is who owns horses and
what is expected of them. Your initial total lack ot knowledge and experience led you to acquire horses of a breed that
should be abolished for the man-made handicaps they select for genetically; you were nearly killed; and your lack ot
horsemanship kept you from seeing how bad Josh's work was. Your professionals too but regions generally get what they
su pport. | suspect that beneath the surface Cape Cod wants good professionals but they don't want to be told the truths l
tel|. Or change the way they ride, manage. $$$$$ spent, “rescue horses" etc. Even just on this trim issue. Every horse
trimmed every 2 weeks at a minimum of $100 per trirn. Would they do this? Even it to ’f`HElR eye it could go 3 or 4 weeks?
Would they do a long slow conditioning ot even pleasure horses so they don't even trot them for 30 days of initial
conditioning? Doubt it. 80 il the “right way' were ever enforced, it would be like NYCity when pooper scooper laws came
in~ thousands of "beloved pets" dumped at the shetlers. l love my dog. but.....not "like that”.

Glad you suggested HCF to Tara - l wondered at Benjamin's why you did not go there.

[Dr. Sheila Lyons_l She had enough on her agenda andjust mentioned the horse issue. lf she had gone public with
that her consequences would have been much worso. l respected that choice since she clearty knew of the issue
. fl raised it in my initial correspondence with her)

Ol< - all you say about Josh now l wish you had said in the beginning - l have not been through this with the
farriers as you have and know that both they and the vets should be begging and paying you for this - l am gaining
an understanding of how hard it is for you to soo this and do agree that it is 100% my responsiblth to lind
someone who will take this on it possible l simply did not know even that this learning opportunity was a possibility
(as you describe it in your last email)- maybe l missed something somewhere? l was thinking that at least with
Josh we know what we have top work with and especially you know how bad his work is - we won`t know that
about someone else without seeing the horses they are tnmming. And l tend to believe that Josh's work is typical
of all of Cape Cod. l've had many of them here over the years and most have been much worse than Josh - l‘ll
show the pictures of Nicks work sometime
[Dr. Sheila Lyons]l tested Josh. The stop watch started at the end ot the talk. He is in the lowest potential group
now, not only due to lack of skill but by avoiding me. `l'he calls to you that missed me wore not sincere. He saw
that his work was the sole thing causing great suffering and constant concern from you (everyone else seemed to
see this). Whether he believes he is doing an ldealjob based on traditional farriery (tho out l gave him although
not strictly true) or if he is concerned that his work ls worse. his reaction was all l cared about He talls. No
contact. Man y farriers have absolutely bounded me sending pages and pages of omotional, angry, pleading,
feadul, hopeful, letters that show an awakening of consciousn ess. Ho is silent. Nine people from that seminar
have managed to contact me- several by both phone and email. Many several times until l manageda response
Nothing from Josh. All l really need to know. His skill level is awful and knowledge even less but l can work with
that if it is countered by extreme motivation to chango. He shows none at least to me. l will show him how to
maintain the trim but ifhe does not make the effort to fully understand all l presented he will not be able to.
Students, whether experienced vets or beginner grooms must offer me all of their attachment to their sense that
they know what is right/wrong. lt they freely offer me this, l can leach them. lf they cling to the notion that they
know a lot but just need a few extra "details" from me, they always fail. Again, whyl target studen ts.
l am not offering much time to any farrier or Dr. Cesar and don't need to. Bul they must offer this to their own
leaming. l know how to teach this effectively Most otit is self study. l would meet with hor, go over the hoofpiclr
exam, the photos again and then she would have to take that and examine every horse she comes across with this
. technique About 250 horses later (1000 very different feet) she would hein a position to perhaps know how to
evaluate, and by then l would meet again and go over some other patients with her to evaluate her understanding
Then she would be ready to review in detail what l did to B&E. Etc ....... So very little time is needed from me at first
for them to make HUGE progress. Comes from lhem, not me- just the basics and guidance on how to loam. The
horses will teach them, nor me. Also whyl link with rescues. Lots oflong suffering horses standing around.
Students examine every horse fhoof pick), every hoot, every day. Then they trim just one which can take them a

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.month to get all 4 feet generally done.
Perhaps l teel like l'm not getting a direct answer on some things because l'm not asking a direct enough question.
Are you saying that you have the time and incentive to do something more with Dr. Cesar (and these farriers |
might be able to find) beyond working and linishing up with Elayou and Ellie? You really have not been specitic
about this. lt was my impression that on the last trim you would spend lime teaching whatever farrier or vet was
available along with Betsy and l how to keep them up and then hope that we could when you are out of the picturel
butl never considered an option lor anything beyond that. l thought the most| could hope for ln the absence of a

vet and farrier was that l could team at least enough to keep them up when both you and B`e`tsy are both out otth`r_e
picture. So l was a little encouraged to find Dr. Cesar and Josh at the talk. Did l miss something?

Also, like l said before l do not understand how this is working. One fundraiser - aprox $3800.00 and 5 days of
your time plus two of Jane's does not add up. [Dr. Sheila Lyons]You are right, it doesn't. This has cost
me/HCFann over 1 0K just so far in lost wages plus travel backl from KY to do 2"°' tn'm, But this whole
mission has not "made sense'. l am motivated to help horses and responsible peoplo. l cannot alford even
one minute of your time - you know that - l need to know how this,makes sense to you. l might be missing
something here too. Also, we have talked about another seminar with Pegasus etc.. , but never really llrmed that
up either. Maybe a good idea for a little role delining because | simply don‘t understand what you mean by your
role as the attending or what you expect from me.
[Dr. Sheila Lyonsj Attending just means for these B&E issues l required full control of all managementivetrlfarr'ier. l
did not just "come to trim feet" but fully evaluated whole needs and organized what l could (Jane/me). l can only
offer the next trim which could require them to come to Brockton. After thatl may callr'email you on one day notice
to say l am stopping through MA overnight and will arrive at QAM to examine/frim. ¥o ur farrier would be expected
to be there and be excited for that last second opportunity. One such farrier canceled his trip to the World
Championships instantly because he heardl would be around and he hoped he could meet up/worlt with me. He
never even told me that- someone else did- so there was no whining, he acted like he had that time offanyway.
Nex't seminar if Jane is involved would require much more $$. To get her over, hotel, etc we are looking at a
baseline cost of nearly $4000. Then seminar costs, so unless we could raise a minimum of $10K up front, lt ls not
really worth it. l can do a talk about the specialty and vet student programs but people want to learn things to help
their animals. not just of my long range plans. No expectations from you. Help in any way you are motivated to.
There never were an y. Everyone who is considerate always says they only hopedl would offer an “emall
consultfoplnion" but with what you have learned so far, you know this achieves nothing. Either l get involved big
time or the horses suffer until they are eventually euthanized or sent for life long suffering to an aquino rescue
group that knows no more than you and has less $$. Not pretty. l would not have offered ll you had riding horses
because it involves so much more. When l saw your ph otos, x-rays and vet reports l knew B&E had this certain
future. Andl am honest so in so many words l would have told you that. Also that l could fix each, but
wouldn‘t/couldn't. That is a very heavy burden. l always choose to my own detriment which ls why my life is as it
is. But strictly by my choice- you had nothing to do with that.

You need to know that l'm not disappea'ring. l want the upheaval to happen ASAP or at least in my lifetime and so
l'm not going to ever stop starting tires. That is my agenda period- nothing l do to help HCF or any other depends
on what will be done for me or my animals. We will get what we need l trust that, in turn this is what keeps us from
falling prey to the agendas of others ` `

[Dr. Sheila Lyons] Hope so.

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Exhibit D

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really don't know if `rt is going to turn out to be traumatic, congenital or a combination of both because there was
never any swelling or heat and she has all along had a pivoting twist to her hind gait - but t have also seen her
take a few wipe out spills to the left while she was tearing around the paddock which l assumed might be because
he is a little clumsy with that pivot twist gait. She is in good spirits limping around, still bearing weight on all four.
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every minute ct the surgery but can‘_t see myself allowing her to stay like she is especially seeing how quickly
Bayou got arthritis in both slitles that are not nearly as bad as her left one. The rehabilitation is something t am
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here - v _
in the meantime t‘ve been playing but have not won the lottery yet and know that | cannot afford your servbes
even if you did have the time (and | don't know your favorite numbers or address so that maybe | could send you
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_way veterinary medicine works most especially in the area of large anime!s; has not seemed nga to me nom the
beginning. The more l learn the worse the picture looks. tt just seems like educatin malpractice to me and so
S&r\SeleSS that animals Wilh ChrOniC problems are so readily disposed of (evert those with problems whim am 3

result ot human error).

-Basically, l am now just wondering if there would be some way that l could at least pay for one day d wm l. rif
you can even find a day when you are in the states - if you are ever even in MA (l know you charge $2500),

Bayou is actually holding his own and doing quite well compared to the way he deteriorated over the last tl-rr_ee .
years_ His attitude is good, he Stands and moves around everyday and we can even get me exeth-5 in most
days now;- However. there is 00 doubt in my mind that further improvement can be made with the rim guidance
but that is not available here. Parhaps, even though you do not have the time to do the work ymg and l “n-t
afford to pay for the full amount of time it would lake for you to oversee his recovery completely anyway_
something more leven il only slightly) could be accomplished in a' day. And if Elli has surgery l know-l'm going 10
need some advice tor her rehabilitation _

`Maybe l‘m way off base'here.and if so tt_\at's OK Please-keep me posted in any event about your progoss
,.)ecause you never know - l might be able to help someway inthe f_utuoe.

Thanks for listening and more importantly for what you are doing.

Ellin

ln a message dated 3/29/20(_>4 1:05:59 PM Eastern Standard Time, castleton2b@comcast.net writas:

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Dear EHin,

§I`hanlr;s‘for asking I’m'"iwt sure you could help. What is needed, actually M icfund_raisb¢g.
Ei¢hgrfupy by a professional or su_;j'icr‘ent to enable us m hire a profasl°onal. The best and most
ethical firm I kane identified who could raise the minimum $30ml'llr'on required to truly launch this
gave me a 53001( estimate far what Homecomr°ng Farm would need to have ready to spendto get
our wheels turning to raise the rest needed, and ther__l be self sufficient (by_having a permanent

,, development departm€!l!).

/r

 

Mondav. September 27. 2004 America On\ine: thnekei

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Exhibit E

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Subj: Re: Bayou
Date: 4/17/2004
To: castleton2b@comcast.net

 

 

. Dear Dr. Lyonsl '

l'm not having any luck obtaining the recent x rays of Bayou's hoofs you offered to look at` if they could be
emailed. His vet has already been out twice _and today she called to say - that although she does not think there
are any changes between the pictures she got and the ones taken in September at Tufts (copies of which l do
have)- she was still not happy with the quality of the second set This may mean a third set of x-rays.` She's been
very good about trying to see Bayou as one whole horse and notjust a sum of his parts and notjumping to
conclusions or reaching for a quick, short lived fix in trying to help put the pieces back together for him - but she
seems to~be leaming` right along with me and now l have a second mini with a patella issue which needs
immediate attention. On top of all this l don't even feel comfortable putting this (looking at Bayou‘s pictures and x
rays so that you'wn offer yet more free advice) on you, especially after learning all you have been through and
still must go through.

A big part of my second problem is my fault in a way, but l wouldn‘t turn back the clock if l could anyway. When
Bayou was younger and still healthy _(pre cushings diagnosis) he had a very active life and l could even take him
with me while l was. away working and stable him with other horses etc.... Then when things started going
downhill with him for the most part. aside from the dogs'and cats, he has been alone. l did once try to get-him a
pasture mate (a goat) but Bayou was so miserable that the poor goat had to go back Once he was off his meds
and starting to be less depressed this past fall l began again to think about getting him a pasture mate. My
intention was to spend some time looking and take all the right steps to make sure l found a sound and healthy
miniature horse with no conformation problems that would make a good companion for him. Even though my
intentions were good that‘s not the way it happened.

While l_ was out at one of the farms looking a`t so called "good and perfect horses" l noticed a tiny mini mare
:tanding alone in the comer with a very dull and depressed attitude, none of the other mares with foals liked her

nd she was-definitely the odd gin out. t knew she was less than perfect, l knew that she was going to require
work and l knew that l already had a`horse that was probably going to require a lot of time and expense on my
hands but l just could not get past her. Her name is Spa Sultans E|egant Lady (Ellie) and she will be three in
June. Her personality has blossomed since she has been here (October), Bayou absolutely adores her and l
know that having her here has helped his psychological state immensely~also_ - they are inseparable and l don't
believe l could have found a more perfect match. However, along with the good has come the reality of the bad
much more suddenly than l expected -

One day she was sound and the next day she was bobbing her head and limping. My new vet right away began
talking about the hooves (soaking hooves, bute, stall rest etc.) like the old vet did with Bayou, but_l guess thanks
to his experience l was not buying any of it. l felt her left stifle.clicking out much worse than bayou‘s ever have and
asked for x rays of the stifles - she agreed the stifle was laterally luxating (no we did not check them in October)
but she was still having trouble coming to a conclusion about which side and from what she believed her
lameness was originating and so l drove her over to another one of the other Vets l work with and he simply
watched her walk, examined her stif|es and advised that l get a surgery consult with DR Garcia-Lopez at Tufts
ASAP. Dr. Garcia-Lopez was not available and in talking to Tufts l found out that not only do they not do a lot of_
stifle surgery on minr`s anyway there campus is still in an upheaval over the dog issue so l drove her up to
Rochester equine clinic. The most.l got from that visit was the hope that nothing serious and obviously genetic is
going on in the stifie or pelvis, a description of the types of surgery available (which l had already read about) and
the suggestion that further diagnostics be performed since each Dr. had a different interpretation of where her
lameness is originating. lt was obvious to me that they have limited experience wi_th mini stifle issues and even
though they could go in the back room and read the same things l had read and help explain and describe them
to me l couldn't leave her in their hands. T

Since then, l came across an article by a `Dr. Richardson from the University of PA l talked to him and heat least

. has had considerably more experience with this problem than the |oml people - plus a's Dr. Leach now tells me

r. Richardson was his resident way back when and he highly recommends him~ s`o we have an appointment in
A on the 28th-of this month. lf he thinks she is a good candidate l am going to allow him to do the surgery. |

Monaay, September 27, 2004 America Online: Photota_kel

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really don't know if it is going to turn out to be traumatic, congenital or a combination o`t both because there was
never any swelling or heat and she has all along had a pivoting twist lo her hind gait - but l have also seen her
take a few wipe out spills to the left while she was tearing around the paddock which l assumed might be because
he is a little clumsy with that pivot twist gait. She is in good spirits limping around, still bearing weight on all fourl

tier rigth §“.:t_'gi`t:.r'dees;not pepth (her left one does very prominently and with just about every step] and although

*__$”,1\;¢§;.§.¢¢§{&‘" o it§og§ly.-dislened and getting worse she will still run and jump if she gets the chance. l am dreading

` every minute of the surgery but can‘t see myself allowing her to stay like she is especially seeing how quickly
Bayou got arthritis in both stifles that are not nearly as bad as her left one. The rehabilitation is something l arn
also dreading and wondering if we can get_through successfully without any experienced professionals around
here. ~

|n the meantime |‘ve been playing but have not won the lottery yet and know that l cannot afford your services
even if you did have the time land l don't know your favorite numbers or address so that maybe l could send you
a winning ticket that you might be able to use to help advance the well being of our animals into the future). The
_way veterinary medicine worksl most especially in the area of large animals§ has not seemed right to me from the
beginning. The more | learn the worse the picture looks. lt just seems like educational malpractice to me and so
senseless that animals with chronic problems are so readily disposed of (even those with problems which are a
result of human enor). _ . _

'Basically, l arn now just wondering if there would be some way that l could at least pay for one day of your time if
you can even find a day when you are in the states - ifyou are ever even in MA (l know you charge $2500).

Elayou is actually holding his own end doing quite wall compared to the way he deteriorated over the last three -
years. His attitude is good. he stands and moves around everyday and .we can even get some exercise in most
days now.'-However, there is no doubt in my mind that further improvement can be made with the right guidance
but that is not available hera. Perhapsl even though you do not have the time to do the work yourself and l can't
afford lo pay for the full amount of time it would take for you to oversee his recovery completely anyway.
something more {even if only slightly) could be accomplished in a' day. And if Elli has surgery l know:l'm going to
need some advice for her rehabilitation -

Maybe l'm way off base here and if so that‘s OK Please~keep me posted in any event about your progress
.)ecause you never know - l might be able to help someway inlthe future.

Thanks for listening and more importantly for what you are doing.

Ellin

ln a message dated 3/29/2004 1:05:59 PM Eastern Standard Time, castleton2b@comcastnetwrites:

ln a message dated 3/29/2004 1:05:59 PM Eastem Standard Time, castleton2b@comcastnet writes:

Dear Ellin,

fi"honksfor asking I’rn"itot_sure you could lrelp. What is needed, actually rguirg, isfundrar`sing.
Eitlrer fully by a professional or sufficient to enable us to hire a professional. The best and most
ethical firm I have identified who could raise the minimum $30ml'lli0n required to truly launch this
gave me a $.')`OOK estimate for what Homecoming Form would need to have ready to spend to get
our wheels turning to raise the rest needed, and then be self sufficient (by having a permanent

.l development department).

/»

 

Monday, September 27. 2004 America Online: Phot.ntak.el

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My HUGE error was in developing some service programs, research, education,' etc. before this
money was in the bank so to speak So it requires 100% of my salary which is large, plus all I can
’ rai‘,£t!_.l'n grants and donations just to stay in existence (roughly. $5 00K per year). I was being too

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i""`ét`h'lcal and assumed l should be able to show a small version of what would be created and then this
groundswell of support would follow. Instead I am afraid that by effort ng small tidbits I have simply
“trained people” that they will get this whether they help or not. For example in Palm Beach I
offered a clinic to show a group of VERY rich people the benefits of my work (many vets tell_clients
it is all bogus, mostly out of ignorance or fear that their ways will be shown to be harrry`ul- as they
are, this is what l reveal at conferences, so` I understood that they might need “proof”). 12 horses
that_had been given up on- zero chance for recovery~ ali recovered not only wall enough to return to
showing, but they were better than before they were ever injured I made clear all along I espected
in retum the imroduction to foundations/individuals who could help the “big picture”. Now that
they no longer “need this in a crisis`fashion”, I have only heard backfrom one.(out of 6 owners)

. who_m I’d asked to speak to a member of the Forbes family who owns horses. Just to ask if the
Forbes Foundation would consider a proposal from HCFarm which is outside of their giving area,
and §fso, please give me the proper foundation contact people She said that while she is an
acquaintance of.lane Forbes, she did not think she knew her “well enough” to ask this. Ofcourse
not- her horses are all better now. The dynamic has changed Other aanmla- the HSUS asked my
help with equine rescue organization standards but when l asked for their help back~ even just to
give a spotlight type story in their public press about HCFarm, they said- sorry, but the fact that I
work with sport horses “might'o_o"end” some of their major donors, and yet without my help they
would not know good horse carefrom outright abuse. Th`ey have since raised millions for their
“strong advocacy and leadership in equine rescue ". Some with MSPCA- l did free vet work on
some horrible rescue abuse casa and when a new barn got built because a donor came by and saw
their “rehab department’,’ l asked who it was- sqrry, that’s privatei When l was the only Tufts vet

. who would publicly speak out about the dirgv little secrets of Tufts past, including on the radio and
in print, NEA Vmentioned they had had a great year fundraising~ I asked if they could intro me to
any of their donors (I do this all the time for other worthwhile animal welfare groups as I have
never been so arrogant as to assume anyone gave me their last dollar) they looked at me like I ’d just
asked them to kill for me. Literally froze in their tracks and did not say a word. Conf`ulential.

Sorry, can ’t help you at all ....... they are OUR donors, And my work applies to ALL animals- dogs
and cars are no better off than horses in this need. Same services `work just as well for them.

And in the meantime I am like a hamster in a wheel- running just to stay in one place. A very dear
friend of ndne'euthanized her hor:s‘e_this winter. l could have fixed him but could not break free last
fall before leaving the Stote.s for the winter to see him _(in blA). I asked Tufts if it would do a basic
workup l requested and send me the reports so l might advise, but they said they could only take her
as a regular client as I am not on their staf)‘f (I have done free education for their students for 15
years) She chose to put him down rather than run up her credit cards for services that even they
had no confidence would benefit him and she did not want to put the horse through that. '

So the cure is actually easy. It is _money and that is everywhere The hard part was in figuring all
the new specialty work out and getting the eacperience needed to be successful. And being poised to
simply implement it worldwide HMTwas the challenge But, to answer your question, without the
. funds, this remains with me and l am already spread too thin on this planet. With the Olynqpics this
year I loose yet another month. So my ability to commit the time to fundraise is cut substantially

Mondav. September 27_ ’).nna Ammt¢~.a nnrtm.- ptmtni.,t,.,t

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Even the committee of vets from vet schools I put together to form our new board will only meet if[
cover 100% of their costs for the 7 of us to get together. It works out to nearly $1 0,000 for a 1 ‘/z day
meeting (this.will go on my credit cards when we all meet in Chicago in May). I could not even get
0NE of them to so much as use their ff miles or their vet school department budget to cover just
their personal costs.

This ismy reality. If you know any way to raise unrestricted funds (no promise of my vet work in
return- I can do that already in private practice) then great, please do. Otherwise f am stuck
working 7 days a weekjust to earn the rrwney it costs to stay at a near standstill (and_remain broke
despite all I earn). The loss of this 51 5 0K means I have 2 months to either raise that or cut what
little we already do or risk personal bankruptcy I already lost my own farm by giving more than I ~
had when I developed this andfooiishly, naively believed everyone who said “if you just fix this
ONE horse for me I’ll be able to tell everyone and raise $$ for you. ” When the horses Ieft- sound, I
never heard from them again. One local person who “loved their horse more than life itselj” when I
said, “okay, no money?!- you just said you have 3 sons who are all over 18 and unemployed and sit
around your house I’lljix your horse and they can work off the bill by mowing my pastures,
unloading hay, doing basic rio-skill farm chores here.~” Her demeanor changed instantly and she
said it was “too much ” for me to ask in return ....... never saw her again but she bad-mouthed me
for years ....... I was uncaring and unreasonable..... '

A lot of awful lessons in this for me-

V

But I do appreciate your asking. Maybe a lottery ticket (gambling is illegal here so I have to return
' to buy one!)...

SLD m

Monday, September 27.~2004 America on\ine: phnmwm

ease 1:11-cv-12192-v\/GY Document 33-2 Filed 09/17/12 Page 29Rage 3 of 4

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Sorry, can’t help you at all.......they are 0UR donors, And my work applies to ALL animals- dogs
and cats are no better off than horses in this need. Same services work just as well for them.

And in the meantime I am like a hamster in a wheel- running just to stay in one place. A very dear
friend of mine'euthanized her horse this winter. I could have fixed him but could not break free last
fall before leaving the States for the winter to see him (in MA). 1 asked Tufts if it would do a basic
workup I requested and send me the reports so I might advise, but they said they could only take her
as a regular client as 1 am not on their staff (I have done free education for their students for 15
years) She chose to put him down rather than run up her credit cards for services that even they
had no confidence would benefit him and she did not want to put the horse through that.

So the cure is actually easy. lt is money and that is everywhere The hard part was in figuring all
the new specialty work out and getting the experience needed to be successfuL And being poised to
simply implement it worldwide THA Twas the challenge But, to answer your question, without the
funds, this remains with me and I am already spread too thin on ihisplanet. With the Olympics this
year I loose yet another month. So my ability to commit the time to fundraise is cut substantially

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ease 1:11-cv-12192-v\/GY Document 33-2 Filed 09/17/12 Page 301%$§§ 4 Of 4

E ven the committee of vets from vet schools I put together toform our new board will only meet ifI
cover 100% of their costs for the 7 of us to get together. It works out to nearly $1 0,000 for a 1 ’/z day
meeting (this will go on my credit cards when we all meet in Chicago in May). I could not even get
0NE of them to so much as use their ff miles or their vet school department budget to cover just
their personal costs.

T his is my reality. If you know any way to raise unrestricted funds (no promise of my vet work in
return- 1 can do that already in private practice) then great, please do. 0therwise I am stuck
working 7 days a week just to earn the money it costs to stay at a near standstill (and remain broke
despite all I earn). The loss of this $150K means I have 2 months to either raise that or cut what
little we already do or risk personal bankruptcy. I already lost my own farm by giving more than I ~
had when I developed this and foolishly, naiver believed everyone who said “if you just fix this
ONE horse for me I’ll be able to tell everyone and raise $$ for you. ” When the horses left- sound, I
never heard from them again. One local person who “loved their horse more than life itself” when I
said, “okay, no money?!- you just said you have 3 sorts who are all over 18 and unemployed and sit
around your house. I ’Il fix your horse and they can work off the bill by mowing my pastures,
unloading hay, doing basic no-skill farm chores here. ” Her demeanor changed instantly and she
said it was “too much ” for me to ask in return ....... '..never saw her again but she bad-mouthed me
for years ....... I was uncaring and unreasonable..... `

A lot of awful lessons in this for me-

But I do appreciate your asking. Maybe a lottery ticket (gambling is illegal here so I have to return
to buy onel)...

SLDVI|!

Mondav_ Sentember 27_ 2004 America Online: Phnt;ntn\cel

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Exhibit F

Case 1:11-cv-12192-WGY Document33-2 Filed 09/17/12 Page qiééé£?l 0f2

 

Subj: RE: the seminar and B&E

te: 6/11/2004 2:45:00 PM Eastern Standard Time
` rom: _<.:_as»_tl.et_<_.)n2b.@.co.ms:a§t.nef

To: Pho!.ota_lsej@.ao!._eom

Sent from the lnternet _(Qe__t_ai[s_)

 

 

 

I really hope that Dr. Cesar works out, butI don't really understand how this would
work logistically. I remain hopeful and open to all possibilities but will not let Dr.
Karin off so easily. Do you have any objections to anything I wrote in that letter to

_ her?

 

[Dr. Sheila Lyons] I_dO_n’tL__j€Cf-thin§lt,i$_\¥§l]_written and should be
sent. Quite kind and restrained given her behavior in the face of the _t£ust
o 0 r and clea utlined from day one with her. Not sure I
would let her off with that assumption that there was an emergency even
though I know it was sarcastic. What you (Cape Cod) really needs is to
. know in clear “yes” or “no” form, if any farriers or vets are committed to
learning this which would include the setting aside of time to
periodically meet with me but mostly to make effort on their own time
and initiative, through my guidance- to gain experience in some methods
(hoof pick exam, photo evaluation,' etc) to begin to learn. This is why I
will not call Josh. If he does not contact Dr. Lyons with eager Eeyg}d
grateful anticipation of j ust the possibility that I might give`him some
personal education, he is out of my picture. No, he never called. Yes, l
'El'lecked all messages and missed calls. Josh is not [e_a_dy. Josh-’s iarner`
Wjiis wrongin every fundamental way. Your
minis are unique m that the amount of damage done l)_y their ti'imming
mwould anticipate even a most traditio@

mwgwn:o_[/MWF@Hg
mers se ool bus, would you as me o teach a driver w o ad
dmptrmrbadmmrashed every time and d!_c_)y_e
MMLYS sincerely wanted to be a good
cww It is a bigger task to undu?lris
incredibly harmful misun erstanding of the hoof and what should be

. trimmed. That he has not contacted me directly after seeing the
ey_idence of this harm by his hand just adds to it. The best indicator

 

 

 

 

 

\17_.1_.,.~,‘\.\-. T--...` ’.?I\ ’\I\I'\A A ______'f__ {\__l:_._- T\\.__A._A._l_._i

 

Case 1:11-cv-12192-WGY Document 33-2 Filed 09/17/12 Page SC})Q{QQ z Ot' 2

based on my experience with farriers of their learning this is
, intelligence This trim requires thinking before the smallest shred of
r"_“ hoof tissue ' Wery time. Every 2 weeks. Will he do
t ls? This part is 100% up to you to §iFu_ggle with and identify this
farrier. l cannot help. I wish I had thought to suggest that you ask every
barn you stopped at for their farrier’s name and contact info. Put the
word out. No_t to exclude J osh but to simply try to get all who say they
would participate together. Usually only one remains with a starting
group of a dozen. I have done this more times than l can count. Or care
to remember.

 

Your assessment of the talk is perfect l believe. The hardest part is my
time factored in.- This is why I want to hire this PA fu'm. What they do
is get you organized in these kinds of ways/materials so that I could go'.
around just giving some talks but have a system in place that follows and
grabs the support and commitment inspired and channels it to benefit-
for both HCF arm and the local groups. I have no one to do` this for me
and it is a full time job. liga develop a general proposal tp/supLo:;t the

§ 1 committee and hire the PA. firm to get us on irm ground. Perhaps these
heavy hitters would consider helpiM-__

 

Thanks again to lane and Robert I had an engaging dinner with his small
group of VPs/leaders of Pflz'.er. They are going to try to help too.
Fingers crossed. _ -

Glad to know B&E are well'. Okay on their management as long as the
hills are done at a tangent'and she steps, not drags bind end (l discussed
this with Bet-sy). You can go back to the larger leads if you wish on
EStim. A er the next trim (I hope to return at 2 weeks but must play
day-by-day by ear t e nn ma e able to go to twice a week r
murata n once Ellie also exercises herself more like
Bayou it will reduce the walking butmm` you are

doing.

 

Keep me posted-

. sldvm

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Exhibit G

Case 1:11-cv-12192-WGY Document 33-2 Filed 09/17/12 Page 35 of 49

From: dr. sheila lyons

Sent: Fn`day, June ll, 2004 2:45 PM
To: Phototakel@aol.com
Subject: RE: the seminar and B&E

 

I really hope that Dr. Cesar works out, bull don't really understand how this would work logistically. I remain hopeful and open to all
possibilities but will not let Dr. Karin off so easily. Do you have any objections to anything l wrote in that letter to her?

[Dr. Sheila Lyons] I don't object- think it is well written and should be sent. Quite kind and restrained given her
behavior in the face of the trust you offered and clearly outlined from day one with her. Not sure l would let her off
with that assumption that there was an emergency even thouin l know it was sarcastic. What you (Cape Cod) really
needs is to know in clear "yes" or "rio" form, if any farriers or vets are committed to learning this which would
include the setting aside of time to periodically meet with me but mostly to make effort on their own time and
initiative, through my-guidance- to gain experience in some methods (hoof pick exam, photo evaluation, etc) to
begin to leam. This is why I will not call Josh lf he does not contact Dr. Lyons with eager beyond grateful
anticipation of`just the possibility that I might give him some personal education, he is out of my picture. No, lie
never called. Yes, I checked all messages and missed calls. Josh is not ready. Josh's farrier work is beyond harmful.
It is wrong in every fiindamental way. ‘[our rninis are unique in that the amount of damage done by their trimming
was worse than nearly any l would anticipate even a most traditional farrier to do. lt` you were looking for someone
to take the job of driving your daughters school bus, would you ask rne to teach a driver who had driven l20mph on
back roads and had crashed every time and drove drunk..... but he really was nice and sincerely wanted to be a good
driver and was never late for work‘? lt is a bigger task to undue his incrediny harmful misunderstanding of the hoof
and what should be trimmed. That he has not contacted me directly after seeing the evidence of this harm by his
handjust adds to it The best indicator based on my experience with farriers of their learning this is intelligence
This trim requires thinking before the smallest shred of hoof tissue is cut Every cut. Every time. Every 2 weeks.
Will he do this? This part is 100% up to you to struggle with and identify this farrier. I cannot help. I wish I had
thought to suggest that you ask every barn you stopped at for their farrier's name and contact info. Put the word out.
Not to exclude Josh but to simply try to get all who say they would participate together. Usually only one remains
with a starting group of a dozen. l have done this more times than I can count. Or care to remember.

Your assessment of the talk is perfect I believe. The hardest part is my time factored in. This is why I want to
hire this PA tinn. What they do is get you organized in these kinds of waysr’materials so that l could go
around just giving some talks but have a system in place that follows and grabs the support and commitment
inspired and channels it to bene{it- for both HCFamr and the local groups. l have no one to do this for me
and it is a full time job. I can develop a general proposal to support the need to raise $lOOK which would
support (and control) the specialty committee and hire the PA firm to_ get us on firm ground Perhaps these
heavy hitters would consider helping that focused need.

Thanks again to Jane and Robert l had an engaging dinner with his small group of VPs/leaders of Pfizer.
'Ihey are going to try to help too. Fingers crossed

Glad to know B&E are well. Okay on their management as long as the hills are done at a tangent and she
steps, not drags hind end (I discussed this with Betsy}. You can go back to the larger leads if you wish orr
EStim. Aiier the next trim (I hope to return at 2 weeks but must play day-by-day by ear) the EStim may be
able to go to twice a week for each- I will evaluate And once Ellie also exercises herself more like Bayou it
will reduce the walking but for now their needs are as you are doing.

Keep me posted-

sldvm

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Exhibit H

Case 1:11-cv-12192-WGY Document 33-2 Filed 09/17/12 Pagep?il?gcg 159sz

 

uij RE: the seminar and B&E
te: 6/11/2004 5:45:25 PNl Eastern Standard _Time
From: Qa.§t\.e.t_or.)?b.@comse§.t.net
To: Ehat<.>tal.<.el@.eql_..cam_
Sent from the Intemet (Details)_

 

----- Origina| Message--- - ~ _ -
From: Phototakel@aol.com [mailto:Phototakel@aol.com]
_ Sent: Friday, June 11, 2004 3232 PM
. To:`castleton2b@comcast.net
Subject: Re:_ the seminar and B&E

ln a message dated 6/11/2004 2`:45:(§0 PM Eastern Standard Time,
castleton2b@comcast.net writes:

l wish | had thought to suggest that you ask every barn you stopped at for
their farriers name and contact info. Put the word out. Not to exclude Josh
but to simply try to get all who say they would participate together. Usual|y
only one remains with a starting group of a dozen.` `

l did invite every farrier (many personally and by letter) working on Cape
Cod and also sent emails to all listed for MA on the equine site. l'll try
another approach....~ ~

[Dr. Sheila Lyons]‘ .

l should have assumed this. Maybe some nearby farrier school
would.know of a Cape Cod based brand new farrier? One guy
from the seminar told of a program at “Pine Hill Farm" nearby.

 

 

 

Mnening isn’t it? ...... nominee short of a total_u aval of
every element _of our current system of service 'ders w

 

' brin the chan el have enjoyed (after creating) in my private
tients/c!r'ents. Farriers, vets, trainers, instructors, grooms,

mers sport regul`a ors, teac ing ins r utrons.
~'</_

 

 

Case 1:11-cv-12192-WGY Document33-2 Filed 09/17/12 Page ?l§a§ed,% sz

"veryone must go.

 

Welcome to my worldview.

 

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Exhibit I

Case 1:11-cv-12192-WGY Document 33-2 Filed 09/17/12 Page 40 of 49

’From: dr. sheila lyons

Sent: Friday, June ll, 2004 5:45 PM
To: Phototakel@aol.oom
Subject: RE: the seminar and B&E

 

-----Original Mssage---

From: Phototakel@aol.com [mailto:Phototakel@aol.com]
Sent: Friday, June 11, 2004 3:32 PM

To: castleton2b@comcast.net

Subject: Re: the seminar and B&E

ln a message dated 6/11/2004 2:45:00 PM Eastern Standard Tlme, castleton2b@comcast.net writes:‘

l wish l had thought to suggest that you ask every barn you stopped at for their farriers name and contact info. Put
the word out. Not to exclude Josh but to simply try to get all who say they would participate together. Usually only
one remains with a starting group of a dozen. _

l did invite every farrier (many personally and by letter) working on Cape Cod and also sent emails to all listed for
MA on the equine site. l'l| try another approach....

[Dr. Sheila Lyons]
ishouid have assumed this. Maybe some nearby farrier school would know of a Cape Cod

.based brand new farrier? One guy from the seminar told of a program at "Pine Hill Farm"
nearby.
Disheartening isn't it? ...... nothing short of a total upheaval of every element of our current
system of service providers will bring the change l have enjoyed (after creating) in my private
patients/clients Farriers, vets, trainers, instructors, grooms, stable managers, sport
regulators, teaching institutions '
Everyone must go.
Welcome to my worldview.

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Exhibit J

Case 1:11-cv-12192-WGY Document 33-2 Filed 09/17/12 Page pageaq Ofb

 

Ebj: Lisa dawe 508-759-4670

te: 6/16/2004 9:56:48 ANl Eastern Standard Time
iFrom: castleton2b@_comcas_t_.__.net

To: PthQtal<_e_l.@aol_..Qom

Sent from the Intemet (Details}

 

 

) Dear Ellin-

[Dr. Sheila Lyons]
' I am glad you wrote. I would not know about a phone message as I did not

bring the phone with me (1 amin CA).

| l .

1 My commitment to E&B remains and l have continued efforts to help them
even in the face of your seeming to feel that more effort is futile, and efforts

z to date are no better/worse than ifI had not helped from the start.` I
disagree and have much more experience with this.

Please remember that from day one of contact with you (or Betsy?) I have
repeated stated that the biggest factor effecting whether my help would, in
fact, offer what they needed was the level of commitment/effort to learn/etc
of your vet and farrier. T hat based on what 1 saw in records forwarded I
could ‘ffix” them but it would require your team to be very actively involved
So l went through, painfully and with much more foresight (due to
experience) than l shared, Nick/Dr. Karen/Josh and all the sorted history
you (and so many) clients o_ffer. The ultimate test would only come when
any 0 these layers was con routed b the resent `on o B&E’s cases.
Everyonefaile o course. So you gave up and your emotional attachment
mm led to the outburst and doom and gloom
assessment I ignored that as my commitment comes from a different place
of much more experience and my role requires me to not take much -

personally.

I just got off the phone with a woman from Bourne who seems heaven sent
tM She could not come tom

her anniversarv/birth ay and other things. She is part of a group of farriers

who ONLY does barefoot horses. I know of their technique and while it is

case 1:11-cv-12192-WGY Document 33-2 Filed 0`9/17/12 "Pag`é"!ia of 4§__‘“
_ Page 3 of 6

All other issues are for another time. I am busy to a degree that I cannot
.describe. With the Olympics looming I have many more patients than my
already overwhelming schedule h.as. I booked my flight back this weekend
to keep up with the 2 week trim schedule and am happy to keep it. 1 never
expected this to “make financial sense” so stop war/ying about that. At
least 2 other horsemen from the seminar would like to do barefoot so l_°fLisa
works out and can handle the additions to her practice several others may
benefit as well Not a waste of time and not better than ifI had never
appeared Horse by horse, where/when_I can, while I continue effort to
change the bigger picture. `

Lis_a also agreed/appreciated when I told her that I said to you that the cape
is not ready. She cannot get most people to let her trim more than every 4
weeks and also cannot get clients to do the necessary handwalking/etc. But
like me measures her satisfaction not in quantity, but quality of change. I
think you have a nice fit.

Let me know if this works for you.

SLD Vil{ -
Dear Dr.' Lyons,

Obviously we have experienced a major communication failure across the
board. l am willing to take a large part of the blame. However, l know l am
not completely responsible for any of this and l am especially concerned
about the hurtful words you and Betsy have shared. l don't believe that type
of exchange was called for at all in face of the very real issues that have

surfaced.

l left a message o`n the cell phone about having a telephone conversation
to clear up whatever misunderstanding has been created. lt does not seem
that such a conversation will happen any time soon. Still, l believe the
several major differences of opinion which arose over the course of this
past week and contributed to our communication failure should be
somehow clarified. ln the absence of open dialogue l~can only offer an
explanation of my personal experience, l hope that by taking the risk of
trying this by email we can, at the least, avoid further damage from

. occurring. Perhaps, if so, we could have a more productive two/three way
conversation at a later time. |f not, who knows where this ridiculous
nonsense will lead?

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l will try to do this by directly addressing one specific issue, which l believe
surfaced during.our email communications last week.

ln a message dated 6/8/2004 9:11:00 ANl Eastern Standard Time,
castleton2b@comcast.net writes:

"lt is the o|d- "if half the people l've met and helped (and who promised and
pledged their life-long commitment!) had made a similar effort", these
programs would have been established years ago and we would all enjoy
the benefits of these powerful services already."

lt is very troublesome to experience this reality, as l have in such a short
time. You may have been trying to tell me this, in so many words, all along,
but it is never easy to gain even a partial understanding of another's_ reality
unless it somehow effects your own personal experience.

An excerpt from a letter l wrote to Dr. Karin last fa|l'. "lt is important for you
to know that the single best thing Bayou's experience has taught me is that
if l wish to facilitate his return to soundness or at least to a reasonable
degree of a "horse happy" state, l cannot remain an inexperienced and

' uninformed horse owner at the mercy of his veterinarian and farriers1
especially if they are not even on the same page. Thereforel my continued
research, and professional search, is directly related to my conclusion that
returning Bayou to good health is going to take nothing short of a dedicated
team effort between open minded individuals who are all working, step by
step, towards the same goa|. What l am looking for is a local veterinarian
who is as interested as l am in getting to the root of his problems - one who
is willing to listen, observe, question, collaborate, correct or advise and also
suggest possible revisions in his treatment plan in a connected and

unbiased team effort.“ l was looking for something that does not exist!

Not only did you bring a glimpse of my dream into real time, you also
proved to me that at the moment what | was experiencing first hand was
strictly a vision of a possible future that has not yet arrived.

To witness the wonderful changes l have experienced with Bayou and Ellie
and to also.know that these "powerful services" do not yet exist is- very
overwhelming to say the least. l can't even begin to imagine what it has
been like for you to deal with such a reality on a daily basisl Jane said
something that really has hit horne with me as well. She said that the day
she met you was both a blessing and a curse. l feel exactly that same way.

... . J___ r__.__. an anna Amm-;~_\ Onlim=~ Phntntake\

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Because l happen to be in a situation where Bayou and Ellie need these
services now, their experience remains at the center of my personal
attachment to the tragedy of this reality. Yet, l am finding it particularly
difficult to resolve the conflict (between their individual needs and the

needs `of the greater whole) which this situation raises for me. l'm sure that
this must have been true for all the others you have "helped". ln many ways
l understand how much easier it is run and hide from such a tormenting ' '
conflict and wish l could.do just that.

The only one thing l have gained for certain from this experience is a true
desire to see to it that these programs do become established and
delivered through a client/patient centered perspective. l need more time to
think about how l can support this mission, as well as in what way l feel my
support can actually be most beneficial 4

ln the meantime, l have been convinced that outside of rescue shelters
where these services can be learned by vet students1 and only if they can
be provided indefinitely, real horses and real people should not be made a
part of the equation for any reason until there are trained professionals
already in place to carry on. The only exception l can see as acceptable
would be if you were willing, had the time and a ready and eager to learn
vet and farrier standing by. And then l would say teach them from the
beginning not at the end of the fix. lt is youl yourself, who has successfully
convinced me that the mission makes all the sense in the world - it is the
way the mission is being carried out that makes no sense at all. Even by
releasing my personal attachment (getting Bayou and E_llie's immediate
needs met) l still find myself committed to that bigger picture. ` ` `
Even if they are of a breed that should be "abolished" it was wrong to allow-
them to participate in.the experience of this blessing/curse.

lf you want or are ready to hear any more feedback from me about the
ways l believe that my help could be offered in a more beneficial way -you
know how to reach me.’Actually l believe that without resolution there is
nowhere else for this "ridiculous nonsense" to lead but back to where we
started from - everyone says they want to help/learn and then they'
disappear when they get to the hard part - lf you challenge their egos, all
you get from veterinarians is silence and more animal suffering.

Psychotic? Yesl But the worldview as it is was not created by your, Betsy's
or my psychosis.

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Exhibit K

Case 1:11-cv-12192-WGY Document 33-2 Filed 09/17/12 Page 47 of 49

 

.“'rom: dr. sheila lyons
Sent: Wednesday, June 16_, 2004 9;56 AM
To: Phototakel@aol.com
Subject: Lisa dawe 508-759-4670
Dear Elin-
[Dr. Sheila Lyons]
I-am glad you wrote. 1 would not know about a phone message as 1 did not bring the phone with me (I am in

My commitment to E&B remains and l have continued efforts to help them even in the face of your seeming
to feel that more effort is futile, and eforls to date are no better/worse than if 1 had not helped from the start.
l disagree and have much more experience with this.
Please remember th at from day one of contact with you (or Betsy?) l have repeated stated that the biggest
factor regarding whether my help would, in fact, offer what they needed was the level of commitment/effort to
learn/etc of your vel andfurrier. That based on what 1 saw in records forwarded l could ‘Trx" them but it
would require your team to be very actively involved SoI went through, painfully and with much more
foresight (due to eagrerr'ence) than l shared, Niclc/r')r. Karen/Josh and all the sorted history you (and so muny)
clients offer. The ultimate test would only come when any of these players was confronted by the presentation
ofB&E's cases. Everyonc failed of course So you gave up and your emotional attachment to B&E and your
history led to the outburst and doom and gloom assessment l ignored that as my conunitment comes from a
different place of much more enq)erience and my role requires me to not take much personally

just got ojfthe phone with a woman from Bourne who seems heaven sent to become your newfarrier. She
‘ould not come to the talk because it was her anniversary/birth day and other things. She is part of a group of
farriers who ONLY does barefoot horses l know of their technique and while it is not the same as mine, it
complimen¢s it well and should with my peripheral continued involvement through consult, photo review and
occasional trips where l can squeeze in a visit to the Cape in between previous conuru'tmenls (not ego) 1
believe they will do very well and maintain what l have achieved

Your sense that l should teach from day one farriers and vets is due to the fact that you can not apprer§iate
just how sensitive the work l do is. lt looks like a farrier putting in a long day, but until 1 have removed the
displacements/dr`slortions the risk of removing just an increment of the wrong tissue is extreme A horse can
be killed ifa farrier or vel gas the corrective stage "almost ri ghl". So l don ‘l and won 't ever teach that in a
casual way. That must be the 2 year course or:ly. Aslr June sometime how nurc_h harm one va over there who
went against my strong warnings did to a group of h orses. But this is not something you can appreciate lt is
one thing for the vets/farriers to disappoint us by NOT doing, but it is my responsibility to prevent them from
ever DOING harm, believing as they often do that they understand at a glance what l am trimmirrg. Karen
mode some of those reckless comments while she'wos standing over me l f she were a more aggressive type
she would have gone straight to one of h er patients with her fa vorite farrier just to prove that what I do is not
all that special or involved And those horses would require euthanaslu within duys. So 1 will not invite that.

. 'r"hey come in for education when l have something safe to teach or show. M y call.

So if you want to speak with this farrier her name is Lisa Dawe. Phone is 508- 759-46 70. l have tentatively
scheduled to meet her mid day this Sunday (she has church and kids in the AM). We would review the power
point presentation, l will examine the horses she has at her stable that she trims so I know her work and then
we would come over from B&E "s trim and discussion about whether she feels comfortable doing what I will
ash her to and ifthe two of you want to work together. l am very encouraged about this and we spoke for an
hour.

l have not given up. But l must clearly set you up with what you need as bat I can, I have spent the last 10

.lays searchin g for the farrier who can help and believe l have It will not be perfed but it will nol revert to the

horror you had.
All other issues are for another time 1 am busy to a degree that l cannot describe lVith the Olympics looming
l have man y more patients than my already overwhelming schedule has. 1 booked my flight back this weekend
to keep up with the 2 week trim schedule and am happy to keep it. l never expected this to "make financial

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nse" so stop worrying about that. At least 2 other horsemen from the seminar would like to do barefoot so if
° a works out and can handle the additions to her practice several others may benefit as welL Not a waste of
time and not better than I:/'I had never appeared Horse by horse, where/when I can, while I continue effort to

change the bigger pidure.
Lisa also agreed/appreciated when I told her that I said to'you that the cape is not ready. She cannot get most

people to let her trim more than every 4 weeks and also cannot get clients to do th_e necessary
handwalking/etc. But like me measures her satisfaction not in quantity, but quality of change I think you

have a nice fit.
Let me know if this works for you.

SLDW
Dear Dr. Lyons,

Obviously we have experienced a major communication failure across the board. | am willing lo lake a large part of
the blame. However, l know l am not completely responsible for any of this andl am especially concerned about
the hurtful words you and Betsy have shared, l don't believe that type of exchange was called for at all in face of
the very real issues that have surfacod.

l left a message on`lhc cell phone about having a lelophooc conversation lo clear up whatever misunderstanding
has been creatcd. lt does nol seem that such a conversation will happen anytime coon. Slill, | believe the several
major differences of opinion which arose over the course ot this past week and contributed to our communication
failure should be somehow clalihed. ln lhe absence of open dialogue l nn only offer an explanalion of my
personal exporienco. l hope that by taking the risk of trying this by email we can, at the least, avoid further damage
from occurring. Perhaps, ll so, we could have a more productive lwoll:hree way conversation at a later limo. lt not,
who knows where this ridiculous nonsense will lead?

l will try to do this by directly addressing one specillc issue, which l believe surfaced during our email
communications last week.

. |n a message dated 6/8/2004 9:11:00 AM Eastern Standard Tlme, castleton2b@comcast.net wlitos:

'lt is the old- "if half the people |‘ve met and helped (and who promised and pledged their life-long commitmentl)
had made a similar effort", those programs would have been established years ago and we would all enjoy the
benefits o_f these powerful services already." _

lt is very troublesome to experience this reality, as l have in such a short time. You may have been trying to tell me
mls, in so many words, all along. but it is never easy to gain even a partial understanding of anothe\“s reality unless
lt somehow reflects your own personal experienoe.

An excerpt from a leUetl wrote to Dr. Karin last fal|: "ll ls important for you to know that the single best thing
Bayou‘s experience has taught me ic that lll wish to facilitate his return to soundnesc, or at least to a reasonable
degree ofa "hor'se happy" slalo. l cannot ren'roln an inexperienced and uninformed horse owner at the mercy of his
veterinarian and farriers. especially ll they are not even on the same page. Therelore. my continued research, and

fecsional search, is directly related lo my conclusion that returning Bayou to good health is going lo take
nothing short of a dedillled team ellorl between open minded individuals who are all working. stop by step,
towards the same goal. What | am looking lor is a local veterinarian who is as interested as l amin getting to the
root of his problems - one who is willing lo listen, observe, question, collaborate. correcl or advice and also
suggest possible revio'ons in his treatment plan in a connected and unbiased team elTolL" l was looking for
something that does not exisll

Not only did you bn`ng a glimpse of my dream into real 'time, youl also proved to me that a_t the moment what l was
experienan first hand was strictly a vision of a possible future that has not yet arrived.

To witness the wonderful changes l have experienced with Bayou and Ellie and to also know that these "powerfu|
servicec" do not yet exist is very overwhe|ning to say the least l can‘t even begin to imagine what it has been like
for you 10 deal with such a reality on a daily basisl Jane said something that really has hit home with me as well_

. She said that the day she met you was both a blessing and a curse. l feel exactly that same way.

Bocause l happen to be in a situation where Bayou and ElEe need those services now, their experience remains al
the center of my personal attachment lo the tragedy of this teality. \'et, l am lindirrg it particularly diflicull to resolve
the conflict (between their individual needs and the needs ol the greater whole) which this situation raises lot me.
l'm cure that this must have been true lor all the others you have "he|pod". |n many ways | understand how much
easier it ls run and hide from such a tormenling conflict and wish | could do just that_ -

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The only one thing l have gained tor certain from this experience is a true desire to see to it that these programs do
become established and delivered through a clientlpatient centered perspective.l need more time to think about
how l can support this mission, as well as in what way l teel my support can actually be most beneticial.

ln the meantirne. l have been convinced that outside ot rescue shelters where these services.can be learned by
vel students, and only it they can be provided indelinitely, real horses and real people should not be made a part cit
_ the equation for any reason until there are trained professionals already in place to carry on. The only exceptionl
can see as acceptable would be if you were willing. had the time and a ready and eager to learn vet and farrier
standing by. And then | would say teach them from the beginning not at the end ot the lix. lt is you. yourselt, who
has successfully convinced me that the mission makes all the sense in the world - it is the way the mission is being
carried out that makes no sense at e||. Even by releasing my personal attachment (getting Elayou and Ellie's
immediate needs met) l still find myself committed to that bigger picture.
Even it they are of a breed that should be "aboushed" it was wrong to allow them to participate in the experience of
this blessing/curse.

lt you want or are ready to hear any more feedback from me about the ways l believe that my help could be offered
in a more beneficial way -you know how to reach me. Actualty | believe that without resolution there is nowhere
else for this "ridiculous nonsense' to lead but back to where we started from - everyone says they want to
help.'learn and then they disappear when they get to the hard part- lf you challenge their egos, all you get from
veterinarians is silence and more animal suffering. .

Psychotic? Yesl But the worldview as it is was not created by your, Betsy's or rny psychosis.

Ellin

